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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:08CR408

       vs.
                                                                       ORDER
SCOTTY L. BOTHWELL,

                      Defendant.


Defendant Scotty L. Bothwell appeared before the court on Wednesday, February 5, 2014 on a
Petition for Warrant or Summons for Offender Under Supervision [113]. The defendant was
represented by Assistant Federal Public Defender Julie B. Hansen, and the United States was
represented by Assistant U.S. Attorney Frederick D. Franklin on behalf of Thomas J. Kangior.
The government did not request detention therefore, the Defendant was not entitled to a
preliminary examination.     The defendant was released on current terms and conditions of
supervision and an amended condition of supervision.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Senior Judge Strom.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before Senior Judge Strom in Courtroom
No. 5, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
on March 12, 2014 at 11:00 a.m. Defendant must be present in person.
       2.     The defendant is released on current conditions of supervision.




       Dated this 5th day of February, 2014.

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
